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The following constitutes the ruling of the court and has the force and effect therein described.


Signed February 1, 2024
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

       In re:                                           )
                                                        )
       LION STAR NACOGDOCHES HOSPITAL,                  )       Case No. 23-43535-mxm
       LLC d/b/a NACOGDOCHES MEMORIAL                   )
       HOSPITAL                                         )       Chapter 11 Case
                                                        )
                             Debtor.                    )

                               STIPULATION AND AGREED ORDER
                 CONFIRMING CASH RECEIVED FROM SUPPLEMENTAL FEE PROGRAMS
                  CONSTITUTES “DIP COLLATERAL” AND GRANTING RELATED RELIEF

                This stipulation and agreed order (the “Stipulation and Agreed Order”) is made by and

      between Lion Star Nacogdoches Hospital, LLC (the “Debtor”) and eCapital Healthcare, Corp.

      (“DIP Lender”, and with the Debtor, the “Parties”).

                A.     On December 22, 2023, the Court entered the Final Order (I) Authorizing the

      Debtor to Obtain Postpetition Financing on a Secured, Superpriority Basis; (II) Authorizing the

      Debtor to Use Cash Collateral; (III) Modifying the Automatic Stay, and (IV) Granting Related Relief

      [Docket No. 127] (the “DIP Order”), which authorized the Debtor’s entry into the Superpriority



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Debtor-In-Possession Credit and Security Agreement between the Debtor and the DIP Lender

(the “DIP Credit and Security Agreement”).1

        B.      The Debtor routinely participates in various state-wide supplemental and direct

payment programs managed by the Texas Health and Human Services Commission which allow

for supplemental Medicaid fees to be paid to participating health care providers, including, without

limitation, such programs as the Uncompensated Care Program (UC), the Hospital Augmented

Reimbursement Program (HARP), Disproportionate Share Hospitals Funding (DSH), the

Comprehensive Hospital Increase Reimbursement Program (CHIRP) and similar programs

(collectively, the “Supplemental Payment Programs”). Payments made and to be made to the

Debtor pursuant to the Supplemental Payment Programs are defined herein as “Supplemental

Payments.”     For example, payments under the UC Payment Program may be used by

participating hospitals to reduce the actual uncompensated cost of medical services provided to

uninsured individuals who meet a provider’s charity care policy. The Debtor expects to receive

at least $2,100,000 in Supplemental Payments pursuant to the UC Program in the first quarter of

2024.

        NOW, THEREFORE, in consideration of the Recitals set forth above, which are

incorporated herein by this reference, the Parties hereby stipulate and agree, and the Court

ORDERS, as follows:

        1.     All of the Debtor’s Supplemental Payments and proceeds thereof received

pursuant to the Supplemental Payment Programs are included in the definition of “DIP Collateral”

(as defined in the DIP Order).

        2.     The DIP Liens (as defined in the DIP Order) are secured by the Supplemental

Payments and the proceeds thereof, in addition to the other items included in the definition of DIP

Collateral as set forth in the DIP Order and the DIP Credit and Security Agreement.


1
  Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to such
terms in the DIP Order or the DIP Credit and Security Agreement, as applicable.


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       3.      The inclusion of the Supplemental Payments and the proceeds thereof in the

calculation of the Borrowing Base is subject to the DIP Lender’s sole and absolute discretion.

       4.      The Parties are authorized to execute and deliver any documents and take such

other actions as necessary or appropriate to implement and effectuate the relief granted by this

Stipulation and Agreed Order.

       5.      Nothing in this Order shall be deemed to limit the DIP Superiority Claim or the DIP

Collateral.

       6.      All rights and relief granted in the DIP Order to the DIP Lender related to the DIP

Liens, DIP Superpriority Claim, and DIP Collateral shall apply to the Supplemental Payments and

the proceeds thereof.

       7.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Stipulation and Agreed Order.

                                   ### END OF ORDER ###


Approved, Stipulated, and Agreed By:


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